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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION


UNITED STATES OF AMERICA

            V.                            INDICTMENT NO. l:19-cr-00015


AMBER KIMBERLY ROBINSON



                                   ORDER



      Based on the Government's motion, leave of court is granted for the

dismissal with prejudice, from Indictment No. CR 119-00015 as to Defendant Amber

Kimberly Robinson.

      So ORDERED,this. /y^dav of                              2019.



                              HONORA                     HALL, CHIEF JUDGE
                              UNITEITSTATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
